I dissent. In construing this statute we should keep in mind section 88-2-2, U.C.A. 1943, which provides:
"The statutes establish the laws of this state respecting the subjects to which they relate, and their provisions and all proceedings under them are to be liberally construed with a view to effect the objects of the statutes and to promote justice."
The acknowledgment by the testatrix to the witnesses that the instrument in question is her will, and that the signature thereto is her signature, is fully as much protection against fraud and imposition as to actually sign the will in the presence of the witnesses. Here the deceased thought she had made a valid will. She desired to make a disposition of her property other than provided by law in the absence of such will. She failed to comply strictly with the statutory requirements. However, the things she did would be sufficient in most states, would give equally as much protection, and were the same kind of acts as those required by the statute. Section 88-2-2 expresses the legislative intent *Page 292 
that our statutes shall "be liberally construed with a view to effect the objects of the statutes and to promote justice." This was undoubtedly enacted to prevent the harsh results of following too literally the exact wording of the statutes, and, to my mind, was made for just such a case as we have here. The cases cited in the prevailing opinion to the effect that acknowledgment by the testatrix is the equivalent to signing in the presence of the witnesses, although not directly in point, adopt this line of reasoning.
I think this purported will should have been admitted to probate.